           1:17-cv-01297-CSB # 73          Page 1 of 2                                              E-FILED
Judgment in a Civil Case (02/11)                                      Thursday, 14 March, 2019 09:40:30 AM
                                                                              Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                                               for the
                                      Central District of Illinois

Lazerrick Coffee                        )
                                        )
              Plaintiff,                )
                                        )
                     vs.                )               Case Number: 17-1297
                                        )
Michael Melvin, Ms. Terry Kennedy,      )
Emily Ruskin, John Baldwin, Sherry      )
Benton, Internal Affairs Pontiac CC,    )
Donna Jones, Jamie Horton, Counselor )
Alvarrado, Supervisory Personnel of     )
Pontiac CC, S. Simpson, Chad Brown,     )
Aberado Salinas, Alan D. Winemiller,    )
Allen, Susan K. Prentice, Lindy Croft,  )
T. Wilson, Derek Smith, Dillon Blanchard)
Jordan Pratt, Robinson, Benjamin G      )
Kennedy, Joe Doe, Meister, Garbe, Bolt )
Bell, Wexford, Ojalada, Andrew Tilden )
Sindy LNU, Sabringa Foxx, Tracy LNU, )
Sherri LNU, Krissy LNU, Lori            )
Williamson, Jodi Johnson, Paul LNU,     )
Jack LNU, John LNU, Bougus, Melissa )
LNU, Becky LNU, G. Simmons, Cora        )
LNU, S. Joseph, Jade Drillin, Keren     )
Beecher, Rebecca McGrath, John Doe I )
Jane Doe,                               )
                                        )
                                        )
              Defendant.                )


                                   JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.             The issues
have been tried and the jury has rendered its verdict.


  ☒ DECISION BY THE COURT.                  This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that Plaintiff’s case against the Defendants is
dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(b), Rule 16(f),
           1:17-cv-01297-CSB # 73       Page 2 of 2
Judgment in a Civil Case (02/11)



Rule37(b), and for failure to comply with this Court’s Orders.


Dated: 3/14/2019


                                                    s/ Shig Yasunaga
                                                    Shig Yasunaga
                                                    Clerk, U.S. District Court
